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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
x
UNITED STATES OF AMERICA,
Docket No.
Plaintiff, 16-407 (JLL)
¥.
CERTIFICATION OF
NATHAN B. MONTGOMERY MATTHEW J. LOMBARD, ESQ.
PRO HAC VICE
Defendant.
x

 

CERTIFICATION OF MATTHEW J. LOMBARD

 

I, Matthew J. Lombard, depose and state as follows:

1. I am a lawyer in the law offices of Matthew J. Lombard, practicing in Los Angeles,
California. J am licensed to practice law in the State of California, as well as before the United States
District Courts for the Southern and Central Districts of California and the United States Court of
Appeals for the Ninth Circuit. I am a member of the bar in good standing in every jurisdiction where I
am admitted to practice. There are no disciplinary proceedings pending against me as a member of the
bar in any jurisdiction. I have not been denied admission to the bar of any jurisdiction. I have not
previously had a pro hac vice admission to this Court revoked for misconduct. A Certificate of Good
Standing is attached hereto.

2. I have received a copy of, and am familiar with, the Local Rules of this Court. In order
to ensure compliance with the Local Rules, I am working in cooperation with local counsel, Brian J.
Neary, a member of the bar of this Court.

3. This Certification is made pursuant to Local Rule 101(c), in support of a Motion for
Admission Pro Hac Vice, which is being filed so that I may appear in all matters relating to the above-

referenced case on behalf of the defendant, Nathan B. Montgomery.
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I hereby certify that the foregoing statements made by me are true. | am aware that if any of the

foregoing statements made by me are willfully false, | am subject to punishment.

New Jersey this L6Gay of May, 2019.

 

MATTHEW J.|/LOMBARD
Law Offices of ew J. Lombard
11400 West Olympic BI., #1500

Los Angeles, California 90064
Tel: (424) 371-5930
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THE STATE BAR
OF CALIFORNIA

180 HOWARD STREET, SAN FRANCISCO, CALIFORNIA 94105-1617 TELEPHONE: 888-800-3400

 

 

CERTIFICATE OF STANDING

May 9, 2019

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, MATTHEW
JACKSON LOMBARD, #239910 was admitted to the practice of law in this
state by the Supreme Court of Califomia on December 2, 2005; and has
been since that date, and is at date hereof, an ACTIVE member of the State
Bar of California; and that no recommendation for discipline for professional
or other misconduct has ever been made by the Board of Trustees or a
Disciplinary Board to the Supreme Court of the State of California.

THE STATE BAR OF CALIFORNIA

Louise Turner
Custodian of Records
